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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                             CRIMINAL ACTION

VERSUS                                                               NO. 01-008

BYRON DUFFAUT                                                        SECTION "N"


                                 ORDER AND REASONS


       Pending before the Court is the motion by defendant Byron Duffaut, pursuant to 28 U.S.C.

§ 2255, to Vacate, Set Aside, or Correct his Sentence. The thrust of Duffaut’s motion is based upon

ineffective assistance of counsel.

I. FACTS

       Defendant Byron Duffaut (“Duffaut”) and co-defendant Kevin Huff were convicted on May

7, 2001, on two counts: (1) conspiracy to possess with intent to distribute more than 50 grams of

cocaine base (crack), pursuant to §§ 846 and 841(a)(1) of Title 21 of the United States Code; and

(2) conspiracy to possess with intent to distribute and possession with the intent to distribute more

than 50 grams of cocaine base (crack) in violation of §§ 846 and 841(a)(1) of Title 21 of the United

States Code.




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        Previously, on March 21, 2001, Duffaut filed a Motion to Suppress his statement, which was

denied by the Court on April 9, 2001. On April 11, 2001, Huff filed a Motion to Suppress the

evidence found in the black Lincoln vehicle, which was denied on April 20, 2001.

        On April 15, 2001, Duffaut was sentenced to 200 months incarceration. Duffaut timely filed

a Notice of Appeal, and claimed in his appeal that: (1) the stop of the black Lincoln vehicle was

unjustified; (2) the search of the black Lincoln was unjustified; (3) the admission of prior bad act

evidence was improper; and (4) the prosecutor’s closing argument was prejudicial to the substantive

rights of the defendant, and thus was legally improper. The Fifth Circuit affirmed the lower court’s

ruling as to the stop and search, and with regard to the admission of Huff’s prior drug arrest. The

Fifth Circuit further found that any error in the prosecutor’s closing argument was harmless, as it

did not inflame the jury nor did it mischaracterize the evidence. See United States v. Duffaut, 314

F.3d 203 (5th Cir. 2003).

        On March 8, 2004, Duffaut timely filed this Motion to Set Aside, Vacate or Correct Sentence

under § 2255, as well as a supplement sheet.

II. LAW AND ARGUMENT

        Duffaut claims that his counsel was unconstitutionally ineffective, and thus his conviction

and sentence should be vacated.

        1. Ineffective Assistance of Counsel

        The Sixth Amendment guarantees the right to effective assistance of counsel in criminal

prosecutions.1 In Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984),



        1
          See McMann v. Richardson, 397 U.S. 759, 711 n.14 (1970) (6th Amendment right to counsel is right
to effective assistance of counsel).

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the Supreme Court established a two-prong test to evaluate ineffective assistance claims. To obtain

reversal of a conviction under the Strickland standard, the defendant must prove that counsel’s

performance fell below an objective standard of reasonableness2 and that counsel’s deficient

performance prejudiced the defendant, resulting in an unreliable or fundamentally unfair outcome

in the proceeding.3 A defendant’s failure to satisfy one prong of the Strickland test negates a court’s

need to consider the other.4 In deciding whether a counsel’s performance was ineffective under

Strickland, a court must consider the totality of the circumstances.5

        Under the performance prong of Strickland, there is a “strong presumption”6 that counsel’s

strategy and tactics fall “within the wide range of reasonable professional assistance.”7 Courts have

declined to characterize counsel’s performance as ineffective assistance when counsel acted




        2
         See Strickland, 466 U.S. at 687-88; Harris v. Day, 226 F.3d 361, 364 (5th Cir. 2000) (judicial
scrutiny of counsel’s performance must be highly deferential, given “strong presumption” that counsel’s
conduct was reasonable professional conduct).
        3
         See Strickland, 466 U.S. at 687; see also Williams v. Taylor, 529 U.S. 362, 396-99 (2000).
        4
         See 466 U.S. at 697; see, e.g., Martin v. Cain, 246 F.3d 471, 477 (5th Cir. 2001) (court need not
address Strickland’s performance prong because defendant could not show prejudice).
        5
         See 466 U.S. at 690 (court must “determine whether, in light of all the circumstances, the identified
acts or omissions were outside the wide range of reasonable professional judgment”); see also Murray v.
Carrier, 477 U.S. 478, 496 (1986) (“[T]he right to effective assistance of counsel. . . may in a particular case
be violated by even an isolated error of counsel if that error is sufficiently egregious and prejudicial.”)
        6
         In interpreting the prejudice prong, the Supreme Court has identified a narrow category of cases in
which prejudice is presumed. See Strickland, 466 U.S. at 692 (1984). The presumption applies when there
has been an “[a]ctual or constructive denial of the assistance of counsel altogether”, when counsel is burdened
by an actual conflict of interest, or when there are “various kinds of state interference with counsel’s
assistance.” See id; Cuyler v. Sullivan, 446 U.S. 335, 350 (1980). In these situations, prejudice is so likely
to occur that a case-by-case inquiry is unnecessary. The circumstances for presuming prejudice are not
present herein. See Strickland, 466 U.S. at 692; see also U.S. v. Cronic, 466 U.S. 648, 658 (1984).
        7
         Strickland, 466 U.S. 668, 689 (1984).

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according to the defendant’s restrictions on strategy,8 when the defendant failed to provide counsel

with complete and accurate information,9 or when counsel refused to “assist[] the client in presenting

false evidence or otherwise violating the law.”10

        Since prejudice is not presumed, the defendant must show that counsel’s errors were

prejudicial and deprived defendant of a “fair trial, a trial whose result is reliable.”11 This burden

generally is met by showing that the outcome of the proceeding would have been different but for

counsel’s errors.12 However, in some cases, the court will inquire further to determine whether

counsel’s ineffective assistance “deprive[d] the defendant of a substantive or procedural right to

which the law entitles him.” In the context of a guilty plea, a defendant can satisfy the prejudice

prong by demonstrating that but for counsel’s deficient performance, a reasonable probability exists




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         See, e.g., Moore v. Johnson, 194 F.3d 586, 607 (5th Cir. 1999) (counsel’s purported failure to
expend pretrial resources in an effort to unearth evidence that may have contradicted defendant’s alibi defense
was not ineffective assistance because defendant chose and insisted on alibi defense).
        9
         See e.g., Lackey v. Johnson, 116 F.3d 149, 152 (5th Cir. 1997) (counsel’s failure to avoid eliciting
damaging testimony from defense witness was not ineffective assistance because defendant did not inform
counsel he molested daughter).
        10
         Nix v. Whiteside, 475 U.S. 157, 166, 171 (1986) (counsel provided effective assistance by
preventing defendant from committing perjury).
        11
          Strickland, 466 U.S. at 687. Unlike the performance prong of the Strickland test, which is analyzed
at the time of trial, the prejudice prong of the Strickland test is examined under the law at the time the
ineffective assistance claim is evaluated. See Lockhart v. Fretwell, 506 U.S. 364, 367-68 (1993).
        12
          See Williams v. Taylor, 529 U.S. 362, 391-93 (2000). To prove prejudice, the defendant must
establish a “reasonable probability” that but for counsel’s unprofessional errors, the result of the proceeding
would have been different. Strickland, 466 U.S. at 692. The Court has rejected the proposition that the
defendant must prove more likely than not that the outcome would have been altered. See id.; see also
Woodford v. Viscotti, 537 U.S. 19, 22-23 (2002).

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that the defendant would not have pleaded guilty and would have insisted on a trial.13 Similarly, in

the context of a procedurally defaulted appeal, a defendant can satisfy the prejudice prong by

demonstrating that there is a reasonable probability that, but for counsel’s deficient failure to consult

with defendant about an appeal, defendant would have timely appealed.14

        For the reasons stated herein, the Court finds Duffaut’s claim to be without merit.

                A.      Failure to call the defendant to the stand does not give rise
                        to an ineffective assistance claim

        The Fifth Circuit has held that the Strickland standard applies to claims of ineffectiveness

of counsel with regard to the defense’s exercise of the defendant’s right to testify. See United States

v. Willis, 273 F.3d 592 (5th Cir. 2001); Sayre v. Anderson, 238 F.3d 631 (5th Cir. 2001). Duffaut

argues that he strongly desired to take the witness stand at his trial, but that his attorney, Ms. Valerie

Jusselin, counseled against it and thus did not put him on as a witness. He indicates that he would

have contradicted the testimony of Deputy Marks and Agent Covell regarding their traffic stop, the

permission to search, and the provision by them of his Miranda warnings. He also contends that he

would have refuted the contention that his vehicle was speeding, and that he would have placed at

issue the calibration of the radar detector, as well as his admissions to transporting narcotics from

Houston to New Orleans. In essence, Duffaut contends that his testimony would have reduced the

assertions of the government’s witnesses to a “swearing contest.” His contradictions of the

evidence, however, are not, in and of themselves, sufficient to demonstrate to the Court that all other


        13
         See Hill v. Lockhart, 474 U.S. 52, 59 (1985); see e.g. Daniel v. Cockrell, 283 F.3d 697, 708 (5th
Cir. 2002).
        14
          See Roe v. Flores-Ortega, 528 U.S. 470, 484 (2000).

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witnesses were lying and that his testimony was truthful. In fact, this testimony likely would have

been viewed by the jury as self-serving, and would have been discredited accordingly.

        Moreover, Duffaut’s refutation of the radar detector’s assessment of his speed could not be

placed at issue by him, as he has offered no reason to believe he could afford expert testimony or

other information to refute the radar detector’s readings. As to the traffic stop conducted by Deputy

Marks and Agent Covell, the jury viewed the video taped stop, and thus his testimony would, at least

in part, have flown in the face of the video tape evidence. As to the search, the Fifth Circuit has

already considered this issue raised on appeal, and has affirmed. See United States v. Duffaut, 314

F.3d at 207.

        There is no evidence offered by Duffaut that he was coerced into not testifying, or prevented

from doing so. In fact, on the face of his supporting memorandum, Duffaut admits that he and Ms.

Jusselin disagreed on the strategy wherein he would not take the stand, but never asserts that she in

any way exerted any coercion or force, other than counseling him accordingly. In that the assertion

of one’s Fifth Amendment privileges at trial is not only a common trial tactic, but one usually

employed, the Court finds no ineffectiveness of counsel under the Strickland standard. Duffaut’s

assertion that he should have testified is now merely a retrospective reconsideration which amounts

only to “Monday morning quarterbacking.” Finally, Duffaut has not established that, had he

testified, the results of the trial could reasonably been different. The record suggests to the contrary.

                B.      Investigation/Objection to Use of the Traffic Stop Tape

        Duffaut also claims his counsel was constitutionally ineffective for her failure to investigate,

prepare, and object at trial to the introduction into evidence of the traffic stop tape itself. Duffaut


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is not entirely clear as to what information he possesses that would support any objection to the use

of the traffic stop tape at trial. He seems to suggest that, because he apparently performed auto

mechanic work on the vehicle in the past, he could have argued at trial that his location in the

vehicle was the result of him addressing or testing a mechanical problem. Unfortunately for

Duffaut, his activities during the relevant time period contradict this explanation. Moreover, such

an explanation would not make Duffaut’s location in the vehicle fortuitous, but rather would have

offered to the jury a further explanation as to how Duffaut had access to the vehicle prior to the time

of the traffic stop.   Regardless, the Fifth Circuit has already examined the circumstances of the

stop and subsequent search and determined that both were conducted legally. This, after both

defense counsel cross-examined witnesses offering testimony pertaining to the stop and search.

Duffaut suggests that, since the video tape did not have sound recording with it, it could have been

the subject of objection and rendered inadmissible. This position is without merit, as there is no

legal requirement that sound recording accompany an otherwise accurate video tape properly

introduced through the testimony of the officers who made it. In short, Duffaut has failed to

establish that any proper objection was omitted by his attorney; has failed to establish that any cross

examination could have been conducted in addition to that which was; and has failed to establish

that any witnesses who could have somehow contradicted the evidence offered regarding the stop

and search should have been called but were not.

        His general complaint that there was insufficient evidence to support a conviction was

brought by counsel via a Rule 29 dismissal motion, which was denied. The record reveals that

Duffaut’s counsel also sought a mistrial, which was also denied. Thus, Duffaut has failed to

establish that defense counsel’s conduct fell short, in any way, of the Strickland standard.


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                C.      Failure to Obtain a Plea Bargain/Conflict of Interest

        Duffaut also argues that his counsel was ineffective for failure to obtain a plea bargain, thus

leaving him with “no choice but to go to trial.” Of course, it is well established that there is no

constitutional right to a plea bargain. Weatherford v. Bursey, 429 U.S. 545, 561 (1977). In fact, if

Duffaut wanted to enter a guilty plea, thus taking responsibility for the crimes charged, he could

have done so, in an attempt to receive a sentencing benefit. Duffaut chose to go to trial.

        Moreover, Duffaut claims that his attorney allegedly did not seek a plea bargain independent

of the co-defendant, and thus asserts that a conflict of interest in his representation exists. The Court

fails to see where such conflict of interest might exist, as each defendant had separate counsel.

        Moreover, Duffaut has failed to establish that he would have accepted any plea agreement

offered by the government. Indeed, in his § 2255 application, Duffaut steadfastly maintains his

innocence, and offers a variety of purported exculpatory information to attack his conviction. He

never alleges that he surely would have entered a guilty plea, but was prevented from doing so by

counsel.

                D.      Motion to Suppress Evidence Found in the Vehicle

        Duffaut continues to allege that his attorney should have filed a motion to suppress evidence

found in the vehicle he was operating, and that her failure to do so rendered her counsel

constitutionally ineffective. Again, however, Duffaut provides no reasonable basis for supporting

such a motion. In other words, Duffaut offers no legal or factual grounds to suggest that such a

motion, even if filed, would have been successful.




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        Notably, co-defendant Huff filed a motion to suppress the evidence seized from the vehicle,

and that motion was denied. Duffaut has failed to establish that any motion filed on his behalf

would have differed from that filed by his co-defendant.

                E.      Failure to Seek a Downward Departure

        Duffaut now claims that his attorney was constitutionally ineffective for not seeking a

downward departure, as movant suggests that he was “agreeing to accept responsibility for movant’s

role in offense.” (Supplemental Sheet, p. 3(a)) Duffaut, however, has not accepted responsibility

for his role in this offense. As stated previously, he steadfastly maintains that he was wrongly

convicted, asserts that agents lied about probable cause, the speed radar, consent to search the

vehicle, etc. If Duffaut sought to accept responsibility in order to receive a lesser sentence, or a

downward departure, he surely could have done so by pleading guilty to the offense instead of

choosing to go to trial. He provided his attorney with no grounds whatsoever to support a motion

for downward departure, and there are no circumstances available to this Court to suggest that a

downward departure would have been warranted, even had such a motion been filed.

                F.      Failure to Object to the Judge’s Response to the Jury’s Questions

        Duffaut alleges that his attorney was ineffective for failing to object to the trial judge’s

response to a jury inquiry. During its deliberations, the jury sent out a written question: “Is there

any actual testimony by any of the witnesses that placed both defendants outside the cars with the

bag at the same time?” The response returned by the trial judge15 was, “you should rely on your



        15
          This case was tried by the Honorable Judge Edith Brown Clement, presiding over Section N at the
time.

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recollection of the testimony by Eric Covell.” Duffaut fails to establish how this prejudiced or

affected the outcome of his case. The jury had available to it Covell’s testimony. If Duffaut is

suggesting that somehow it was improper to name a particular witness (apparently the only witness

who testified about those events), the Court notes that this was a one-day trial, and it is unlikely that

the trial judge’s note somehow placed in the jury’s mind a recounting of testimony that the jury

otherwise would not have adequately recalled. The trial judge’s response was reasonably responsive

to the inquiry, did not suggest a finding one way or the other (as it did not recite substantive

testimony), and thus the failure to object to this answer did not render counsel’s assistance

constitutionally ineffective.

        2.      Sufficiency of the Evidence

        Lastly, Duffaut claims that the evidence is not sufficient to support his conviction. A

challenge to the sufficiency of the evidence is not cognizable in a § 2255 proceeding. Forrester v.

United States, 456 F.2d 905 (5th Cir. 1972). Also, as previously noted, Duffaut’s counsel moved

pursuant to Rule 29 to test the sufficiency of evidence, which motion was denied. Lastly, Duffaut

failed to raise the insufficiency of evidence claim on direct appeal, and has procedurally defaulted

on these claims. United States v. Torres, 163 F.3d 909 (5th Cir. 1999). Duffaut has made no attempt

to establish any cause or prejudice which would support a petition for collateral relief on this issue.

        The record establishes that the government sufficiently proved, to reasonable jurors, that

sufficient evidence existed supporting each of the elements of the crimes charged.




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                                      CONCLUSION

       For the foregoing reasons, the Motion of Byron Duffaut to Vacate, Set Aside, or Correct

Sentence filed pursuant to 28 U.S.C. § 2255, be and is hereby DENIED.

                                     29th day of September, 2006.
       New Orleans, Louisiana, this ______




                                           _________________________________________
                                                    KURT D. ENGELHARDT
                                                    United States District Judge




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